
546 Pa. 256 (1996)
684 A.2d 546
UNISYS CORPORATION, Raymond W. Ross, Jr., individually and on behalf of a class of all others similarly situated, Mellon Bank, N.A., as Trustee under Trust Agreement dated August 27, 1991 of the Unisys Employee Savings Thrift Trust, Commonwealth of Pennsylvania by its Attorney General, Thomas Corbett, Jr. (as to Counts One and Two), and Linda S. Kaiser, in her capacity as Insurance Commissioner of the Commonwealth of Pennsylvania (as to Counts One and Two)
v.
PENNSYLVANIA LIFE AND HEALTH INSURANCE GUARANTY ASSOCIATION, an unincorporated association, and Linda S. Kaiser, in her capacity as Insurance Commissioner of the Commonwealth of Pennsylvania (as to Count Three).
Appeal of UNISYS CORPORATION and Mellon Bank, N.A.
Appeal of PENNSYLVANIA LIFE AND HEALTH INSURANCE GUARANTY ASSOCIATION.
Supreme Court of Pennsylvania.
October 30, 1996.
PER CURIAM.
The Order of Commonwealth Court is affirmed.
